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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,                             )
                                                )    Case No. 18-cv-01258
                       Plaintiff,               )
                                                )    Judge Manish S. Shah
       v.                                       )
                                                )    Magistrate Judge Young B. Kim
2017SHARP, et al.,                              )
                                                )
                       Defendants.              )
                                                )

                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action with prejudice against the following Defendant:

              Defendant Name                                      Line No.
            Bolubao Official Store                                   8

Dated this 23rd day of May 2018.            Respectfully submitted,


                                            /s/ Justin R. Gaudio
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            Jessica L. Bloodgood
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